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53.15.2024 10:00 AM

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

QORVO, INC.,
Plaintiff,
v. C.A. No. 1:21-cv-01417-JPM

AKOUSTIS TECHNOLOGIES, INC. and
AKOUSTIS, INC.,

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Defendants.

SPECIAL VERDICT FORM
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INSTRUCTIONS

When answering the following questions and completing this Verdict Form, please
follow the directions provided on each page that follows and the Jury Instructions that you have
been given. Your answer to each question must be unanimous. Some of the questions contain
legal terms that are defined and explained in the Jury Instructions. Please refer to the Jury
Instructions if you are unsure about the meaning or usage of any legal term that appears in the
questions below.

As used in this Verdict Form:

1. “Plaintiff? and “Qorvo” both refer to Plaintiff Qorvo, Inc.

2. “Defendants” and “Akoustis” both collectively refer to defendants Akoustis
Technologies, Inc. and Akoustis, Inc.

3. “Asserted Patents” refers collectively to U.S. Patent No. 7,522,018 and U.S.
Patent No. 9,735,755.

4, “018 Patent” refers to U.S. Patent No. 7,522,018.

5. “755 Patent” refers to U.S. Patent No. 9,735,755.

You will note that the Verdict Form uses the eight alleged trade secret groups that the
Plaintiff proposed in the presentation of some of the Plaintiff’s proof. The Court is not making
any factual determinations as to the alleged trade secrets, their organization, whether they are
properly grouped together, or whether or not each is a trade secret. The Verdict Form’s

organization is only for your convenience. All questions of fact are for you, the jury, to decide.
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QUESTIONS AND ANSWERS

We, the jury, unanimously find as follows:

TRADE SECRET MISAPPROPRIATION UNDER
THE DEFEND TRADE SECRETS ACT AND
THE NORTH CAROLINA TRADE SECRET ACT

For each of the ALLEGED TRADE SECRETS that Plaintiff Qorvo presented at trial,
please answer the following questions as instructed in this section:

Question No. I(a):

Please write “YES” or “NO” in each column of the table below.

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iba

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3.2 yes " Ged
43 4c Ye&
a = ce 7 ie
4.1 ek Yea
_ "Group 5 ee ae ere
5.1 Alo eS
5.2 Alb 1B
5.3 he Yes
5.4 Ya YeX
5.5 ft YE
| ‘Group 6) inte
6.1 cs No
6.2 No No
63 Yek YeX
6.4 YS Yek
6.5 YR 7
6.6 ed YoR
| Af i ‘Group 7 HEP ty ee i tH
7.1 No fe
7.2 Ys Alo
73 ‘No No
ahd No Yes,
cv # HEE an Het Group 8 | TTT Aue ; I ;
8.1 fE& pe eX
8.2 oS Yes *
8.3 GA. ‘YER
8.4 YE Ye
8.5 JA ges

IF YOU ANSWERED “YES” IN BOTH COLUMNS FOR ANY ALLEGED TRADE
SECRET IN QUESTION I(a), THEN ANSWER QUESTIONS 1(b) AND I(c) BELOW. IF
YOU DID NOT ANSWER “YES” IN BOTH COLUMNS FOR ANY ALLEGED TRADE
SECRET IN QUESTION I(a), WRITE “N/A” IN QUESTION I(b) AND 1(c) AND MOVE
ON TO QUESTION 2.

Question No. 1(b):

State the amount Akoustis was unjustly enriched by misappropriating Qorvo’s trade secrets as to
which you have answered “Yes” and “Yes” in Question 1(a) above.

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Question No. l(c)

Was Akoustis’s misappropriation of any of Qorvo’s trade secrets as to which you answered
“Yes” and “Yes” in Question 1(a) above willful and malicious? Please write “YES,” “NO,” or
“N/A” on the line below.

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IF YOU ANSWERED “YES” TO QUESTION I(c), ANSWER QUESTION I(d) BELOW. IF
YOU ANSWERED “NO” OR “N/A” TO QUESTION I(c), WRITE “N/A” ON QUESTION
I(d) AND MOVE ON TO QUESTION 2.

Question No. 1(d)

What amount of exemplary damages, if any, do you award to Qorvo against Akoustis?

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UNFAIR AND DECEPTIVE TRADE PRACTICES UNDER NORTH CAROLINA LAW

Question No. 2(a):

Has Qorvo proven by a preponderance of the evidence its Unfair and Deceptive Trade Practices
Act claim against Akoustis as to its confidential information and trade secret claim?
Please write “YES” or “NO” on the line below.

No
Question No. 2(b):

Has Qorvo proven by a preponderance of the evidence its Unfair and Deceptive Trade Practices
Act claim against Akoustis as to its poaching claim?
Please write “YES” or “NO” on the line below.

No

ANSWER QUESTION 2(c) ONLY IF YOU ANSWERED “YES” TO QUESTION 2(b).
OTHERWISE, DO NOT ANSWER AND MOVE ON TO QUESTION 3.

Did Qorvo prove by a preponderance of the evidence damages caused by Akoustis’ action(s) for the
alleged unfair and deceptive practices related to poaching?
Please write “YES” or “NO” on the line below.

ANSWER QUESTION 2(d) ONLY IF YOU ANSWERED “YES” TO QUESTION 2(c).
OTHERWISE, DO NOT ANSWER AND MOVE ON TO QUESTION 3.

Question No. 2(d):

What damages, if any, did Qorvo prove by a preponderance of the evidence it is entitled to for
Akoustis’ unfair and deceptive trade practices related to employee poaching?

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PATENT INFRINGEMENT

Question No. 3(a):

Do you find that Qorvo has proven by a preponderance of the evidence that the claims of the
°018 or the ’755 Patents have been infringed? Please write “YES” or “NO” in each box
below.

018 Patent, Claim 1

018 Patent, Claim 12 wk
°755 Patent, Claim 9 ” ek
°755 Patent, Claim 10 Yk

t

ONLY ANSWER THE FOLLOWING QUESTION 3(b) AND 3(c) IF YOU ANSWERED
“YES” TO ANY PART OF QUESTION 3(a). OTHERWISE, DO NOT ANSWER QUESTION
3(b) OR 3(c) AND MOVE DIRECTLY TO THE UNANIMOUS VERDICT PAGE.

Question No. 3(b) (damages)

What do you find is the amount of damages, if any, that should be paid to Qorvo for the
infringement of each Asserted Patent, to compensate for the damages caused by Akoustis’
infringement?

°018 Patent: $ BA 139 Go g
°755 Patent: $ /37 Gof

Question No. 3(c):

Did Qorvo prove by a preponderance of the evidence that Akoustis’ infringement of the 018
or ‘755 patent was willful? Please write “YES” or “NO” in each box below.

018Patent, Claim

°018 Patent, Claim 12 Mo
°755 Patent, Claim 9 hy
°755 Patent, Claim 10 No

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UNANIMOUS VERDICT.
Upon reaching a unanimous verdict on each question above, the presiding juror must

sign and each juror must sign below. We, the jury, unanimously agree to the answers to the

above questions and return them under the instructions of this Court as our verdict in this case.

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Juror

